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 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 442-4022
 5
                            IN THE UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                                 )
 9   UNITED STATES OF AMERICA,                     )   Case No.: 2:16-cr-00217-MCE
                                                   )
10                   Plaintiff,                    )   STIPULATION AND [PROPOSED]
                                                   )   ORDER FOR CONTINUANCE OF
11          vs.                                    )   STATUS CONFERENCE
                                                   )
12   SATISH KARTIN, and                            )
     SHARMISTHA BARAI,                             )
13                                                 )
                     Defendants.                   )
14
15
            The United States of America through its undersigned counsel, Nirav Desai,
16
     Assistant United States Attorney, together with Thomas A. Johnson, counsel for
17
     defendant, Sharmistha Barai, and Mark Reichel, counsel for defendant, Satish Kartan,
18
     hereby stipulate the following:
19
        1. By previous order, this matter was set for Status Conference on January 12, 2017.
20
        2. By this stipulation, Defendants now move to continue the Status Conference to
21
            February 16, 2017, at 10:00 a.m. and to exclude time between January 12, 2017,
22
            and, February 16, 2017, under the Local Code T-4 (to allow defense counsel time
23
            to prepare).
24
        3. The parties agree and stipulate, and request the Court find the following:
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            a. A continuance is requested because all counsel for the defendants need
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                  additional time to review the discovery, conduct investigation, and discuss
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                  potential resolutions.
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 1        b. Counsel for defendants believe the failure to grant a continuance in this case
 2            would deny defense counsel reasonable time necessary for effective
 3            preparation, taking into account the exercise of due diligence.
 4        c. The Government does not object to the continuance.
 5        d. Based on the above-stated findings, the ends of justice served by granting the
 6            requested continuance outweigh the best interests of the public and the
 7            defendants in a speedy trial within the original date prescribed by the Speedy
 8            Trial Act.
 9        e. For the purpose of computing time under the Speedy Trial Act, 18 United
10            States Code Section 3161(h)(7)(A) within which trial must commence, the
11            time period of January 12, 2017, to February 16, 2017, inclusive, is deemed
12            excludable pursuant to 18 United States Code Section 3161(h)(7)(A) and
13            (B)(iv), corresponding to Local Code T-4 because it results from a continuance
14            granted by the Court at defendant’s request on the basis of the Court’s finding
15            that the ends of justice served by taking such action outweigh the best interest
16            of the public and the defendant in a speedy trial.
17     4. Nothing in this stipulation and order shall preclude a finding that other provisions
18        of the Speedy Trial Act dictate that additional time periods are excludable from
19        the period within which a trial must commence.
20
21   IT IS SO STIPULATED.
22
23   DATE: January 10, 2017
24                                                   /s/ Thomas A. Johnson
                                                     THOMAS A. JOHNSON
25                                                   Attorney for Sharmistha Barai

26   DATED: January 10, 2017                         PHILLIP A. TALBERT
                                                     Acting United States Attorney
27                                             By:   /s/ Thomas A. Johnson for
28                                                   NIRAV DESAI
                                                     Assistant U.S. Attorney

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 1   DATED: January 10, 2017
                                           By:   /s/ Thomas A. Johnson for
 2                                               MARK REICHEL
                                                 Attorney for Satish Kartan
 3
 4                                       ORDER
 5
 6            IT IS SO ORDERED.

 7
 8   Dated:
                                          _____________________________
 9                                        MORRISON C. ENGLAND, Jr.
10                                        Chief United States District Court Judge

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